  UNITED STATES DISTRICT COURT
  FOR THE EASTERN DISTRICT OF WISCONSIN


  Plaintiffs
  HANNAH GITTINGS;
  CHRISTOPHER MCNEAL;
  NATHAN PEET;
  CARMEN PALMER;
  v.

  Defendants:                                                    COURT USE ONLY

  KEVIN MATHEWSON; individually and as THE                    JURY TRIAL
  COMMANDER of the KENOSHA GUARD;                             DEMANDED
  RYAN BALCH, individually and as TACTICAL
  ADVISOR for the KENOSHA GUARD AND
  BOOGALOO BOIS;                                              Case Number:
  &
  FACEBOOK, a U.S. Corporation;                               2:20-cv-01483 WED




  _____________________________________________
  Attorney for Plaintiff:
  Jason Flores-Williams
  1851 Bassett St 509
  Denver, CO 80202
  Reg. No. #49702
  303-514-4524
  Jfw@jfwlaw.net

            CIVIL L. R. 7(h) EXPEDITED NON-DISPOSITIVE MOTION
                             TO AMEND COMPLAINT


       The Plaintiffs, by and through counsel, Jason Flores-Williams, state as follows:

       Fed.R.Civ.P. 15(a)(2) states that the Court should “freely” give permission to

amend pleadings when justice requires. “The Supreme Court has pointedly told us that

‘this mandate is to be heeded.’” Gonzalez-Koeneke v. West, 791 F. 3d 801, 807 (7th Cir.

2015) (citation omitted). “As a general matter, Rule 15 ordinarily requires that leave to

                                             1

      Case 2:20-cv-01483-WED Filed 11/16/20 Page 1 of 3 Document 9
amend be granted at least once when there is a potentially curable problem with the

complaint or other pleading. … A district court may deny leave to file an amended

complaint in the case of ‘undue delay, bad faith or dilatory motive on the part of the

movant, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, [and] futility of

amendment.’ However, while a court may deny a motion for leave to file an amended

complaint, such denials are disfavored.” Bausch v. Stryker Corp., 630 F. 3d 546, 562 (7th

Cir. 2010) (citations omitted).

       In this case, the Plaintiffs seek leave to file the Amended Complaint attached as

Exhibit 1. The proposed Amended Complaint fixes a number of typographical errors and

cures a significant factual defect in the Complaint. Paragraph 7 of the Complaint had

alleged that Defendant Rittenhouse brought an assault rifle with him from Antioch,

Illinois, into Wisconsin on the night in question. The Plaintiffs have since learned that

that allegation is incorrect. Paragraph 7 of the proposed Amended Complaint cures that

defect by alleging that “Defendant Kyle Rittenhouse answered the Call to Arms by

driving across state lines from Antioch, Illinois, to Kenosha, Wisconsin, where he was

provided with an assault rifle by David Dominick Black.”

       This is an easily curable defect for which leave should be freely given to the

Plaintiffs to amend their Complaint.1




1
 While Plaintiffs have communicated with a Defendant, no Defendants have been
formally served. There is no prejudice with regard to preparation of their response.
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      Case 2:20-cv-01483-WED Filed 11/16/20 Page 2 of 3 Document 9
       WHEREFORE, the Plaintiffs respectfully request that the Court grant the

Plaintiffs leave to amend their Complaint and file the First Amended Complaint attached

as Exhibit 1; and for such other and further relief as may be just.




Respectfully submitted this 16th Day of November 2020,

s/Jason Flores-Williams
Jason Flores-Williams #49702
Attorney at Law
1851 Bassett 509
Denver, CO 80202

                               CERTIFICATE OF SERVICE

        I hereby certify that on this date, 11/16/20, I electronically filed the within
document with the Clerk of the Court using the CM/ECF system which will send
notification of such filing(s) to all counsel of record.


                                                       s/Jason Flores-Williams
                                                       Jason Flores-Williams #49702




                                               3

      Case 2:20-cv-01483-WED Filed 11/16/20 Page 3 of 3 Document 9
